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                                     Exhibit A


Claim Number      Date Created   Carrier Name            Reason Code           Total Amount
LD000994347       02/20/2020     YRC Inc. (RDWY)         Damaged                $
                                                                               430.65
LD000995952       04/23/2020     YRC Inc. (RDWY)         Damaged and Refused    $
                                                                               797.94
LD000996025       05/01/2020     YRC Inc. (RDWY)         Damaged                $
                                                                               2,106.36
LD000996349       06/17/2020     YRC Inc. (RDWY)         Damaged                $
                                                                               1,276.28
LD000997597       12/15/2020     YRC Inc. (RDWY)         Damaged and Refused    $
                                                                               412.75
LD000997800       01/26/2021     YRC Inc. (RDWY)         Lost in Transit        $
                                                                               1,037.40
LD000998190       04/16/2021     YRC Inc. (RDWY)         Damaged                $
                                                                               1,306.00
LD001000725       09/07/2021     YRC Inc. (RDWY)         Damaged                $
                                                                               932.14
LD001000954       09/20/2021     YRC Inc. (RDWY)         Shortage               $
                                                                               182.00
LD001001781       10/28/2021     YRC Inc. (RDWY)         Lost in Transit        $
                                                                               238.03
LD001001927       11/08/2021     YRC Inc. (RDWY)         Damaged                $
                                                                               445.12
LD001001988       11/11/2021     YRC Inc. (RDWY)         Shortage               $
                                                                               9,340.00
LD001002246       11/24/2021     YRC Inc. (RDWY)         Lost                   $
                                                                               30,607.25
LD001002629       12/13/2021     YRC Inc. (RDWY)         Damaged and Refused    $
                                                                               2,056.35
LD001002665       12/14/2021     YRC Inc. (RDWY)         Damaged                $
                                                                               1,968.20
LD001002840       12/27/2021     YRC Inc. (RDWY)         Lost                   $
                                                                               3,089.70
LD001003962       02/23/2022     YRC Inc. (RDWY)         Damaged                $
                                                                               4,088.36
LD001004299       03/09/2022     YRC Inc. (RDWY)         Lost in Transit        $
                                                                               671.88
LD001004373       03/14/2022     YRC Inc. (RDWY)         Damaged                $
                                                                               1,112.00
LD001005024       04/25/2022     YRC Inc. (RDWY)         Damaged                $
                                                                               1,000.00
LD001006125       06/20/2022     YRC Inc. (RDWY)         Lost                   $
                                                                               952.04


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LD001010696       01/23/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            6,317.95
LD001010846       01/31/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            5,903.14
LD001011509       03/02/2023   YRC Inc. (RDWY)         Lost in Transit       $
                                                                            1,139.84
LD001011568       03/03/2023   YRC Inc. (RDWY)         Lost Shipment         $
                                                                            1,483.83
LD001011705       03/14/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            4,276.11
LD001011974       03/27/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            4,064.36
LD001012372       04/17/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            12,500.17
LD001012813       05/09/2023   YRC Inc. (RDWY)         Concealed Damage      $
                                                                            1,431.38
LD001013186       05/26/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            1,975.00
LD001013571       06/19/2023   YRC Inc. (RDWY)         Lost in Transit       $
                                                                            1,324.05
QC0001010905      02/01/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            3,178.84
QC0001013535      06/15/2023   YRC Inc. (RDWY)         Damaged/Accident      $
                                                                            392.54
LD001009401       11/25/2022   YRC Inc. (RDWY)         Damaged               $
                                                                            2,322.69
LD001009421       11/28/2022   YRC Inc. (RDWY)         Damaged               $
                                                                            1,764.75
LD001009679       12/12/2022   YRC Inc. (RDWY)         Damaged               $
                                                                            1,848.36
LD001010069       12/28/2022   YRC Inc. (RDWY)         Concealed Damage      $
                                                                            3,699.72
LD001010312       01/06/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            1,401.30
LD001010377       01/10/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            9,275.00
LD001010478       01/12/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            623.40
LD001010497       01/13/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            456.90
LD001010562       01/16/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            1,782.00
LD001010679       01/20/2023   YRC Inc. (RDWY)         Lost Shipment         $
                                                                            230.79
LD001010766       01/25/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            1,948.00

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LD001010924       02/02/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             674.00
LD001011070       02/08/2023   YRC Inc. (RDWY)         Lost in Transit        $
                                                                             1,670.92
LD001011228       02/15/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             274.13
LD001011301       02/21/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             720.85
LD001011380       02/23/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             579.60
LD001011619       03/08/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             3,269.74
LD001011818       03/16/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             5,468.18
LD001012002       03/28/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             1,011.02
LD001012007       03/28/2023   YRC Inc. (RDWY)         Lost in Transit        $
                                                                             654.48
LD001012053       03/29/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             2,237.00
LD001012104       03/31/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             608.73
LD001012113       04/03/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             199.60
LD001012625       04/27/2023   YRC Inc. (RDWY)         Shortage               $
                                                                             2,832.06
LD001012674       04/28/2023   YRC Inc. (RDWY)         Lost                   $
                                                                             4,571.10
LD001013507       06/14/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             5,945.91
LD001013622       06/20/2023   YRC Inc. (RDWY)         Damaged                $
                                                                             272.60
QC0001008147      09/22/2022   YRC Inc. (RDWY)         Damaged/Accident       $
                                                                             2,837.77
QC0001008864      11/02/2022   YRC Inc. (RDWY)         Damaged/Accident       $
                                                                             2,429.67
QC0001009284      11/20/2022   YRC Inc. (RDWY)         Damaged/Accident       $
                                                                             3,875.73
QC0001012985      05/17/2023   YRC Inc. (RDWY)         Damaged/Accident       $
                                                                             379.17
QC0001013735      06/26/2023   YRC Inc. (RDWY)         Damaged/Accident       $
                                                                             419.93
QC0001008713      10/25/2022   YRC INC. (RDWY)         Damaged/Accident       $
                                                                             3,200.71
QC0001009571      12/05/2022   YRC INC. (RDWY)         Concealed Damage       $
                                                                             1,989.19

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QC0001010290      01/05/2023   YRC INC. (RDWY)         Damaged/Accident      $
                                                                            309.69
QC0001012786      05/05/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            4,694.64
QC0001012211      04/06/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            1,782.77
QC0001012266      04/10/2023   YRC INC. (RDWY) Damaged                       $
                               Reddaway                                     10,496.64
QC0001013414      06/08/2023   YRC Inc. (RDWY) Concealed Damage              $
                                                                            3,529.38
QC0001003752      02/14/2022   YRC INC. (RDWY) Lost/Stolen                   $
                               Roadway                                      1,780.00
QC0001008450      10/10/2022   YRC Inc. (RDWY) Damaged/Accident              $
                                                                            2,217.30
QC0001012725      05/03/2023   YRC Inc. (RDWY)         Damaged               $
                                                                            2,877.45
QC0001013147      05/24/2023   YRC Inc. (RDWY)         Lost/Stolen           $
                                                                            4,725.12
QC0001011702      03/13/2023   YRC INC. (RDWY)         Damaged/Accident      $
                                                                            8,993.86
QC0001013196      05/26/2023   YRC Inc. (RDWY)         Lost/Stolen           $
                                                                            1,500.00

                                                                             $
                                                                            222,419.51




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